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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 GO GLOBAL RETAIL LLC,
                                                              Case No.: 1:23-cv-07987-AS
                               Plaintiff,
 v.
                                                              AMENDED COMPLAINT
 DREAM ON ME INDUSTRIES, INC.,
                                                              JURY TRIAL REQUESTED
 and DREAM ON ME, INC.,

                               Defendants.




                                     NATURE OF THE CASE

       1.      Go Global Retail LLC (“Go Global”) provides a cutting edge, industry leading

brand investment platform built upon decades of industry experience, transactional expertise, and

operational knowledge.

       2.      Using its proprietary systems and models, Go Global has a proven track record

demonstrating its ability to identify opportunities to build brand equity in the consumer products

and retail sectors, frequently but not exclusively with distressed retail assets.

       3.      In recent years, Go Global has successfully acquired brands which are frequently

(but not exclusively) distressed retail brands, including through bankruptcy and other carve-out

transactions. Examples include Modcloth, Janie and Jack, and Brums Milano.

       4.      In each instance, Go Global used its proprietary financial models, expertise, and

industry know-how to improve operational efficiencies, develop brand recognition in key

marketplaces, improve infrastructure/systems and enhance profitability.

       5.      Most recently, Go Global identified and targeted the financially distressed

“buybuy BABY” (“BBBY”) retail assets for possible purchase out of bankruptcy and

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investigated raising debt or equity financing to acquire the assets subject to extensive due

diligence.

       6.      In connection with its efforts to prepare a bid for the assets of BBBY in the

bankruptcy process, Go Global retained Ankura Capital Advisors LLC (“Ankura”) to assist and

advise with, among other things, identifying potential equity investors and sources of debt

financing.

       7.      On or about June 10, 2023, Go Global and Ankura engaged in discussions with

the principals of the “DOM Family,” of companies, which include Dream On Me Industries, Inc.

and its corporate affiliate Dream On Me, Inc., (Dream On Me Industries, Inc., and Dream On

Me, Inc., are hereafter referred to as “DOM”) about developing a joint bid for the assets of

BBBY using Go Global’s proprietary technology and DOM’s baby products and children’s

furniture manufacturing experience for a joint bid for the assets of BBBY.

       8.      In connection with the potential transaction, DOM entered into a non-disclosure

agreement (the “NDA”) which included, among other material terms, confidentiality, and

non-circumvention language.

       9.      The NDA expressly forbade DOM from bidding on the assets of BBBY without

the participation of Go Global (unless agreed in writing by Go Global).

       10.     After DOM signed the NDA, DOM was provided access to a data room

containing Go Global’s proprietary forecasts, financial models, data, and other Go Global

analysis concerning the details of a contemplated bid for certain assets of BBBY, which

represented proprietary plans created by Go Global for the post-acquisition strategy of

maximizing the value of the purchased assets by: standing up the business, reopening stores, and

rebuilding the technology stack.



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       11.     In furtherance of the parties’ contemplated joint bid, and subject to the terms of

the NDA, Go Global disclosed additional information to DOM about strategic considerations for

the joint operation of BBBY, should a joint bid prove successful.

       12.     However, just days after receiving this valuable confidential information from Go

Global, DOM breached the NDA, and committed other independent torts, by utilizing Go

Global’s proprietary forecasts, financial models, data, and strategic operating plans to make a

separate bid for the intellectual property of BBBY without notice to, or knowledge or permission

from, Go Global.

       13.     On June 28, 2023, DOM was deemed the successful bidder for BBBY’s

intellectual property based on a bid of $15.5 million.

       14.     Upon information and belief, DOM continues to utilize Go Global’s proprietary

forecasts, financial models, data, and strategic operating plans to maximize the value of the

assets it purchased.

                                         THE PARTIES

       15.     Go Global Retail LLC is a Delaware limited liability company.

       16.     The sole member of Go Global Retail LLC is Jeffrey Streader, a resident of the

State of California.

       17.     Upon information and belief, Dream on Me Industries, Inc. is a New Jersey

corporation with its principal place of business at 45 Veronica Avenue, Somerset, NJ 08873.

       18.     Dream on Me Industries, Inc. is a designer, manufacturer, and supplier of baby

products such as cribs.




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       19.     Upon information and belief, Dream on Me, Inc. is an affiliate of Dream on Me

Industries, Inc., which is a New Jersey corporation with its principal place of business located at

45 Veronica Avenue, Somerset, NJ 08873.

                                 JURISDICTION AND VENUE

       20.     This Court has original jurisdiction over this action pursuant to the Defend Trade

Secrets Act, 18 U.S.C. § 1836(c) and 28 U.S.C. § 1331.

       21.     This Court has supplemental jurisdiction over all other claims asserted in this

action, in that the other claims relate to the original jurisdiction claim, and form part of the same

case or controversy, 28 U.S.C. § 1367.

       22.     Alternatively, this Court additionally has jurisdiction over this action pursuant to

28 U.S.C. § 1332(a)(1), in that this is a civil action between Plaintiff’s members who are citizens

of California and Defendant which is a New Jersey corporation with its principal place of

business located in New Jersey, and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

       23.     Venue is proper pursuant to the forum selection clause set forth in the

Non-Disclosure Agreement underlying this dispute. “This Agreement shall be governed and

construed and interpreted in accordance with the laws of the State of New York” and “the sole

and exclusive jurisdiction and venue for any litigation arising out of this Agreement shall be

appropriate federal or state court located in New York County, State of New York.”

       24.     Moreover, venue is proper because the actions giving rise to the instant dispute

occurred substantially in the State of New York, County of New York.




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                                            THE FACTS

Background

       25.        BBBY was a subsidiary of Bed Bath & Beyond, Inc. (“Bed Bath & Beyond”) that

operated retail stores and an online retail channel for selling baby products and furniture.

       26.        In or around March 2023, Go Global learned that Bed Bath & Beyond planned to

file for bankruptcy protection.

       27.        Go Global expressed interest in investigating the acquisition of BBBY’s assets

and was given access to BBBY’s data to conduct due diligence.

       28.        From March 2023 through June 2023, Go Global used its proprietary modeling

techniques to forecast the success of the BBBY brand in the event of Go Global’s acquisition of

the going concern and/or intellectual property assets of BBBY.

       29.        In furtherance of its interest in examining the assets of BBBY, on or about May

15, 2023, Go Global retained Ankura.

       30.        Ankura offers investment banking services related to mergers, acquisitions, and

divestitures, as well as private placement capital raises, and has experience assisting potential

bidders with structuring financing models for the acquisition of distressed assets from

bankruptcy.

       31.        Go Global’s agreement with Ankura contemplated, among other things, the

services Ankura was to provide and the compensation Go Global was to pay for the provision of

those services.

       32.        The agreement with Ankura also included a confidentiality provision, protecting

confidential information shared by and among Go Global and Ankura during the term of the

engagement.



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       33.     On April 23, 2023, Bed Bath & Beyond, filed a voluntary petition for relief under

Chapter 11 of the United States Bankruptcy Code in the United State Bankruptcy Court for the

District of New Jersey (Case No. 23-133590).

       34.     On April 25, 2023 (DE # 92), the Bankruptcy Court approved bidding procedures

for the sale of Bed Bath & Beyond, as well as BBBY’s assets.

       35.     The Bankruptcy Court ordered an auction of BBBY’s intellectual property assets

on June 28, 2023 (“BABY IP Auction”), which would be followed by another auction with

respect to all or substantially all of the assets of the BBBY brand on June 29, 2023 (“BABY

Going-Concern Auction”).

Go Global is Introduced to DOM

       36.     On June 9, 2023, Christian Tempke, a managing director at global investment

bank, Lazard Frères & Co. LLC (“Lazard”), emailed Go Global’s managing director Christian

Feuer (“Feuer”) to introduce him to Milan Gandhi (“Gandhi”).

       37.     Gandhi is the CFO/COO of Welspun USA, Inc. (“Welspun”).

       38.     Welspun is a wholly-owned subsidiary of WBGL, a public corporation in India.

       39.     Gandhi is responsible for Welspun’s commercial operations, including finance

and accounting, budgeting, warehousing and distribution, legal, commercial insurance, and credit

risk review.

       40.     Relevant here, Gandhi was advising DOM in connection with its interest in

pursuing BBBY.

       41.     In response to the introduction, Feuer proposed a Microsoft Teams meeting with

Gandhi for June 10, 2023.




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        42.    Gandhi responded that he would be glad to connect with Feuer and added DOM

owner, Mark Srour (“Srour”), and CMO/CTO, Avish Dahiya (“Dahiya”), to the email chain to

coordinate their availability for a meeting.

        43.    Dahiya emailed Feuer advising that Srour was not available for a call, but that he

and Gandhi were available that afternoon.

        44.    Dahiya further advised that the proposed NDA would be signed and returned to

Go Global in advance of the meeting.

        45.    At 1:48pm on June 10, 2023, Dahiya transmitted the signed NDA to Go Global

and Ankura.

        46.    Dahiya signed the NDA in his capacity as “CMO/CTO” of “Dream on Me, Inc. /

DOM Family (DOM),” indicating clear knowledge and assent that the DOM family of

companies were to be bound by the NDA.

        47.    At 3:32pm on June 10, 2023, Abishek Pathania, a senior associate at Ankura,

transmitted the countersigned NDA to DOM.

        48.    Upon circulating the countersigned NDA to DOM, Dahiya, Gandhi and Srour

were granted access to a secure, confidential data room which included: (1) all financial data

related to BBBY, (2) Go Global’s annotated versions of the BBBY data, (3) Go Global’s

proprietary forecasts, financial models, and strategic operating plans that Go Global had prepared

in anticipation of making a bid for BBBY assets, and (4) important and valuable customer data

which Go Global had secured at their own cost and negotiation.

        49.    Upon information and belief, DOM downloaded all the documents in the data

room.




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       50.     Upon information and belief, DOM maintains copies of all documents

downloaded from the data room.

The Non-Disclosure Agreement

       51.     The NDA contemplated that Go Global would “disclose Proprietary Information”

to DOM and its affiliates (i.e., the “DOM Family”).

       52.     Under the terms of the NDA, Proprietary Information is defined as “ information

concerning [] [BBBY]…information concerning [Go Global]…and all information derived

therefrom, including without limitation, trade secrets (under state law and the Defend Trade

Secrets Act), know-how, summaries, notes, processes, ideas, contracts, other technical, business,

financial, customer and product development plans, forecasts, strategies, customer lists and data,

financial information, employee information, pricing data, sales data, intellectual property of any

nature, marketing plans, website designs, internet marketing or sales practices or strategies, and

records containing or otherwise reflecting such information.”

       53.     In exchange for access to Go Global’s Proprietary Information, DOM agreed “not

to initiate or maintain contact (except for those contacts made in the ordinary course of business

and other than in connection with the Purpose) with any officer, director or employee or agent of

[BBBY] regarding [BBBY]’s business, operations, prospects, or finances, except with the

express permission of Global and then only subject to the terms of this Agreement.”

       54.      The NDA also included a non-circumvention obligation:

       [DOM] covenants and agrees that [DOM] and its affiliates, and that [DOM] will
       cause its equity holders, directors, officers, managers, employees, agents, advisors
       or representatives not to, directly or indirectly, solicit, encourage, negotiate, or
       discuss with [BBBY], or enter into any agreement, understanding or commitment
       regarding, a possible transaction, sale, merger, combination, consolidation, joint
       venture, partnership, recapitalization, restructuring, refinancing or other
       disposition of all or any material part of [BBBY] or its subsidiaries or any []
       [BBBY]’s or its subsidiaries’ assets or issued or unissued capital stock other than

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       involving the potential transaction with [Go] Global, and only then with
       knowledge and express consent of [Go] Global (“Non-Circumvention
       Obligation”).

(emphasis added).

       55.     The NDA further provides that the “Agreement shall be governed and construed

and interpreted in accordance with the laws of the State of New York.”

       56.     The parties to the NDA also agreed that “the sole and exclusive jurisdiction and

venue for any litigation arising out of this Agreement shall be appropriate federal or state court

located in New York County, State of New York.”

       57.     The NDA also contains a clause providing for an award of reasonable attorneys’

fees to the prevailing party in any dispute or litigation.

The June 10, 2023 Meeting Between Go Global and DOM

       58.     During the June 10, 2023, video conference meeting, DOM representatives

communicated to Go Global and Ankura that DOM had no intention of “going alone” into the

Section 363 bid process.

       59.     DOM admitted that it lacked the necessary retail experience and dropped out of

the bidding process.

       60.     DOM is a baby furniture company that sells its products to retailers like Amazon,

Burlington, Kohl’s, Overstock, Home Depot, Walmart, and Wayfair.

       61.     Upon information and belief, DOM did not sell its products directly to consumers.

       62.     Upon information and belief, DOM did not operate any retail locations.

       63.     Representatives of DOM expressed an interest in producing furniture and

managing the supply chain in connection with the operation of BBBY assets.




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       64.     While DOM has no experience owning or operating brick-and-mortar retail

stores, Go Global is experienced in the development of brick-and-mortar retail stores

post-acquisition, as well as with direct-to-consumer e-commerce.

       65.     DOM also disclosed that it was too far behind in its diligence with Lazard and

needed to “piggy-back” off Go Global’s efforts to participate in a bid.

       66.     Indeed, whether DOM was still considering a separate bid was in the forefront of

the June 10 conversation.

       67.     On multiple occasions, both in writing and orally, both before and after Go Global

provided DOM with any of its confidential information, DOM confirmed that it was not

pursuing an independent bid for BBBY. Go Global relied on these representations in providing

DOM access to Go Global’s proprietary forecasts, financial models, and strategic operating plans

both (1) contained in its secured confidential data room, and (2) as expressed between the

executives of each of the companies in live discussions.

       68.     This was precisely why DOM was presented with the NDA prior to the initial

meeting and prior to granting DOM access to Go Global’s data room – if Go Global knew that

DOM would ultimately pursue a separate bid for the assets of BBBY, logically, Go Global would

not have shared its proprietary financial models and valuable retail industry know-how with

DOM.

       69.     With DOM’s verbal confirmation that it was not pursuing a separate bid for

BBBY and the protections of the NDA in place, Go Global engaged in discussions with DOM

about a joint bid to buy the assets of BBBY.




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       70.      Following the June 10 video call, Gandhi emailed the Go Global and Ankura

participants, stating, in part, “We look forward to further exploring ways to partner in this

transaction.”

       71.      Representatives of DOM and Go Global also met in person to further discussions

of a joint bid for BBBY, including discussions where Go Global representatives shared

information concerning Go Global’s proprietary forecasts, financial models, and strategic

operating plans for the auction of BBBY assets.

       72.      On Monday, June 12, 2023, Go Global and DOM representatives met for dinner at

Mike’s Bistro in Manhattan.

       73.      During the meal, the parties continued their discussions in support of a joint bid

and DOM’s use of Go Global’s proprietary forecasts, financial models, and strategic operating

plans for the auction of BBBY assets shared by Go Global.

DOM Accesses Go Global’s Proprietary Financial Models, Trade Secrets and Other
Confidential Information

       74.      Data logs maintained by Ankura show that Dahiya and Srour accessed Go

Global’s proprietary forecasts, financial models, and strategic operating plans contained in the

secure data room on June 10, 2023, and June 14, 2023.

       75.      Go Global began compiling the information contained in the secure data room in

March 2023, before the announcement of Bed Bath and Beyond’s chapter 11 filing.

       76.      Go Global used reasonable protections under the circumstances to safeguard its

confidential and proprietary information. These reasonable safeguards included the use of a data

room, and access to the data room was provided only to those parties who had a business reason

to access the data, and who were subject to a non-disclosure agreement. The data room is a




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password protected platform which enables Go Global to maintain the secrecy of the documents

and information contained therein.

       77.     The documents and information within the secure data room contained proprietary

information and confidential trade secrets generated by Go Global in connection with its efforts

to consummate a transaction for the purchase of the assets of BBBY.

       78.     For example, among the documents in the data room was a series of Microsoft

Excel spreadsheets consisting of proprietary financial models projecting expected revenues and

returns on investment over a period of five (5) years based upon Go Global’s proposed valuation

and investment structure.

       79.     Go Global’s proprietary financial models also projected sales, expenses, costs,

and growth assumptions across BBBY’s brick and mortar and digital channels.

       80.     Unlike the raw, prior years’ data provided to all potential bidders by Lazard and

Alix Partners, Go Global’s proprietary financial models resized the store fleet and outlined a

growth strategy by channel.

       81.     Moreover, Go Global’s proprietary analysis contained recommendations

concerning which BBBY brick and mortar retail locations should remain operational and which

should be closed, based upon a time-consuming and detailed review of store-by-store

performance.

       82.     Go Global’s projections considered deploying its modern technological ecosystem

that use cloud-based services for customer acquisition, customer segmentation and customer

personalization, which would allow the purchaser of the BBBY assets to compete in a dynamic

retail environment.




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       83.     The proprietary information contained in Go Global’s data room, and which Go

Global provided to DOM, is not publicly known information.

       84.     Go Global receives commercial advantage by maintaining the secrecy of its

proprietary forecasts, financial models, data, and strategic operating plans because no other

company employs the same proprietary methods, analysis, or combination of formulas.

       85.     DOM did not have any of this proprietary information prior to accessing Go

Global’s data room or discussing a joint bid with Go Global.

       86.     Go Global did not share any of the information contained in the data room until

DOM had signed the NDA so that Go Global could ensure the protection of its proprietary

forecasts, financial models, and strategic operating plans.

       87.     The documents in the data room included other Go Global proprietary

information pertaining to the contemplated transaction, including:

               (a)     Gross sales projections;

               (b)     Proposed distribution structures for investors;

               (c)     Sales forecasts;

               (d)     Status of discussions with vendors to ensure continuity during transition
                       periods;

               (e)     Target net revenues;

               (f)     Go Global’s view of the strengths and weaknesses of BBBY’s business
                       channels and verticals;

               (g)     BBBY customer data which was extremely valuable, and which Go Global
                       had shared with DOM related plans to protect, migrate, and further
                       commercialize;

               (g)     Transaction strategy and financing ratios; and

               (h)     Identification of key BBBY personnel and plans for business
                       development.



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         88.   The proprietary information shared with DOM was not raw data but, rather, a set

of forward-looking projections prepared by Go Global based on:

               (a)     Historical financials;

               (b)     Analysis of beneficial retail locations;

               (c)     Projections of what merchandise to stock and whether to venture into new
               sectors of apparel and soft goods, such as a “store” branded line of products;

               (d)    How to best extricate BBBY from Bed Bath and Beyond infrastructure
               and IT systems, and projected costs of same; and

               (e)     A proprietary understanding of how to build brand equity and recognition,
               based upon Go Global’s experience with Janie and Jack, Brums, and other similar
               transactions.

         89.   In connection with the foregoing, Go Global obtained access to debtor Bed Bath

& Beyond’s data systems through BBBY to analyze and determine how to extract BBBY’s

infrastructure and data management systems from Bed Bath & Beyond. This included emails and

conversations between Go Global’s Head of Data, Thoryn Stephens, and DOM’s IT team, which

unveiled Go Global’s valuable and confidential implementation strategies, developed over many

years.

         90.   Go Global also compiled information about replacing systems that would not be

extracted, including recommendations of successor vendors and the like.

         91.   Go Global has expended significant resources in terms of capital investment and

labor to develop the proprietary forecasts, financial models, and strategic operating plans it

provided to DOM.

         92.   Go Global’s proprietary forecasts, financial models, and strategic operating plans

for the auction of BBBY assets is commercially valuable to Go Global, Go Global’s competitors,

and intended collaborator DOM.



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          93.    Following DOM’s review of the financial models and other documents in the data

room, Go Global and DOM exchanged emails concerning how Go Global prepared its analysis

and arrived at its conclusions.

          94.    Indeed, Go Global personnel had spent hundreds of hours reviewing data and

refining their analysis dating back to March 2023.

          95.    Thus, DOM received and accessed the product of months of work performed by

Go Global personnel, which provided a roadmap for structuring a purchase of certain assets of

BBBY, and its strategy for optimizing financial performance of those BBBY assets thereafter.

          96.    Go Global and DOM personnel also met in-person, with the Ankura

representatives working with Go Global, in furtherance of pursuing a joint bid for the BBBY

assets.

          97.    With the protections of the NDA in place, Go Global verbally shared additional

insights with DOM regarding structuring a successful bid and turning around BBBY.

          98.    Members of Go-Global’s deal team, with expertise in e-commerce, technology

and business strategy shared their insight with DOM.

          99.    In a June 14, 2023, email exchange between Dahiya and Feuer, Feuer answered

questions Dahiya posed concerning budget reconciliations, necessary technology support for

BBBY’s retail business and cost-cutting measures.

          100.   Feuer replied, in relevant part, that Go Global reached its analysis using a

proprietary technology playbook consisting of strategies Go Global deployed in connection with

its other transactions.




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        101.     Feuer also provided Dahiya insight about how to trim certain costs – a necessary

step to ensuring BBBY would operate within budget and smoothly transition the business to an

eventual purchaser.

        102.     On June 15, 2023, for approximately two hours, the principals of Go Global met

in-person with the principals of DOM at DOM’s offices, where Go Global discussed its due

diligence findings, financial models, and post-acquisition strategies in detail. DOM asked many

questions and Go Global addressed those questions and further detailed their strategy and

outlook.

        103.     Unbeknownst to Go Global, and despite DOM’s obligations under the NDA, all

the proprietary information disclosed by Go Global was evaluated by DOM personnel for the

purposes of structuring an independent bid for the assets of BBBY, all without the participation

of or compensation of Go Global.

DOM Violates the NDA by Submitting a Bid for the Assets of BBBY

        104.     On June 28, 2023, the BABY IP Auction was held, and DOM was deemed the

Successful Bidder with its bid of $15.5 million.1

        105.     DOM submitted its independent bid in the BABY IP auction without the

participation of Go Global, and also without Go Global’s knowledge or consent, in violation of

the Non-Circumvention Clause in the NDA.

        106.     During a July 11, 2023, court hearing, the United States Bankruptcy Court for the

District of New Jersey approved the sale of BBBY’s intellectual property to DOM.

        107.     Go Global was not a party to the bankruptcy proceedings. In the end, Go Global

did not have a seat at the bidder’s table nor did it submit a direct bid at the bankruptcy auction.


1
 By comparison, Bed Bath & Beyond’s intellectual property assets (a much larger portfolio) were sold for $21
million.

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       108.    By bidding on BBBY’s intellectual property, DOM violated the NDA through its

misappropriation of Go Global’s proprietary, confidential and trade secret information and its use

of that information to bid for BBBY’s intellectual property.

       109.    The very act of bidding on BBBY’s intellectual property, without the participation

or express written consent of Go Global, constituted a violation of the NDA.

       110.    Moreover, DOM used Go Global’s proprietary confidential and trade secret

information in order to prepare and ensure the success of its bid.

       111.    In fact, DOM purchased eleven leases for BBBY retail locations throughout the

Northeast, based on Go Global’s analysis and projections for growth, for only $1,700,000.00.

       112.    Without the knowledge DOM obtained from Global, DOM would have been

unable to successfully bid for any of BBBY’s assets. On information and belief, DOM continues

to use Go Global’s proprietary forecasts, financial models, and strategic operating plans in

relation to its efforts to maximize the value of the purchased BBBY assets and data, and to

operate the resulting business.

       113.    Go Global’s proprietary forecasts, financial models, data, and strategic operating

plans related to the auction for BBBY assets are valuable trade secrets that Go Global spent

months developing.

       114.    DOM did not pay or otherwise compensate Go Global for DOM’s use of Go

Global’s proprietary forecasts, financial models, data, and strategic operating plans.

       115.    Go Global expends significant amounts of resources in finding, engaging,

developing a target investment and thesis, and preparing related financial models and strategic

operating plans, with the aim that it will earn significant fees and future financial upside upon the




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closing of a transaction based on its efforts. A non-exhaustive list of those various factors

include:

             (a) A professional fee calculated as the amount of hours expended multiplied by an
                 hourly rate;

             (b) A compensatory success fee;

             (c) Ongoing advisory fees to the surviving business;

             (d) Equity in the surviving business; and

             (e) Appreciation in value of the equity held in the surviving business.

        116.     Indeed, Go Global even prepared a financial model that included at least some of

its anticipated fees upon the successful closing of a BBBY transaction, which Go Global shared

with DOM. DOM knew that Go Global expected to be compensated for its efforts, and that

significant compensation for Go Global would be customary under the circumstances.

        117.     DOM closed on the BBBY assets utilizing Go Global’s proprietary trade secrets

and valuable business know-how, all without compensating Go Global for any of its

contributions.

        118.     Upon information and belief, DOM continues to operate an ongoing business

utilizing Go Global’s proprietary trade secrets and valuable business know-how, all without

compensating Go Global for any of its contributions.

                          AS AND FOR A FIRST CAUSE OF ACTION
                                (BREACH OF CONTRACT)

        119.     Go Global repeats and realleges the allegations in Paragraphs 1 to 118 as if fully

set forth herein.

        120.     On or about June 10, 2023, DOM executed an NDA with Go Global.




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       121.    In accordance with the terms of the NDA, Go Global provided DOM with access

to its secure data room related to its bid for the assets of BBBY that included but was not limited

to, financial models, projections, sales forecasts, information about BBBY’s vendors, Go

Global’s analysis of BBBY’s business channels and vertical, transaction strategy, BBBY

personnel contacts, and business development plans.

       122.    Go Global also shared its proposed bid for the purchase of BBBY’s assets which

analyzed relevant factors such as employee retention, stores assumed and intellectual property

assets to be acquired.

       123.    The NDA provides that DOM shall not “directly or indirectly, solicit, encourage,

negotiate, or discuss with [BBBY], or enter into any agreement, understanding or commitment

regarding, a possible transaction, sale, merger, combination, consolidation, joint venture,

partnership, recapitalization, restructuring, refinancing or other disposition of all or any material

part of [BBBY]” without Go Global, otherwise known as the “Non-Circumvention Obligation.”

       124.    DOM breached the Non-Circumvention Obligation by exclusively bidding on

BBBY’s intellectual property on June 28, 2023, which bid was later approved by the United

States Bankruptcy Court of the District of New Jersey on July 11, 2023.

       125.    DOM continues to breach the Non-Circumvention Obligation by using Go

Global’s proprietary forecasts, financial models, and strategic operating plans to maximize the

value of the purchased BBBY assets and operate the resulting business.

       126.    At no time did DOM provide Go Global with written notice of its action as was

required by the NDA.

       127.    DOM breached the NDA and has damaged and continues to damage Go Global.




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        128.    By reason of the foregoing, Go Global is entitled to damages in an amount to be

determined.

                        AS AND FOR A SECOND CAUSE OF ACTION
                       (AWARD OF ATTORNEYS’ FEES AND COSTS)

        129.    Go Global repeats and realleges the allegations in Paragraphs 1 to 128 as if fully

set forth herein.

        130.    The June 10, 2023, NDA executed by DOM provides, “If any court of competent

jurisdiction holds the non-prevailing party to be in violation, breach, or nonperformance of any

of the terms of this letter agreement, then the non-prevailing party shall pay all reasonable costs

of such action or suit, including reasonable attorneys’ fees.”

        131.    DOM has breached the NDA by bidding (and ultimately purchasing) BBBY’s

intellectual property in violation of the Non-Circumvention Obligation set forth in the NDA.

        132.    As DOM has breached the NDA, it is contractually obligated to pay Go Global’s

“reasonable costs… including reasonable attorneys’ fees.”

        133.    Based on the foregoing, Go Global is entitled to damages in an amount to be

determined at trial.

                         AS AND FOR A THIRD CAUSE OF ACTION
                                (UNJUST ENRICHMENT)

        134.    Go Global repeats and realleges the allegations in Paragraphs 1 to 133 as if fully

set forth herein.

        135.    Go Global provided DOM with access to its secure data room which contained

proprietary, confidential information that was integral to the acquisition of some or all of

BBBY’s assets including, but not limited to gross sales projections; proposed distribution

structures for investors; sales forecasts; status of discussions with vendors to ensure continuity



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during transition periods; target net revenues; Go Global’s view of the strengths and weaknesses

of BBBY’s business channels and verticals; transaction strategy and financing ratios; and

identification of key BBBY personnel and plans for business development, as well as Go

Global’s proprietary systems and models for brand acquisition.

          136.   DOM misled Go Global, stating it would partner with Go Global in the joint bid

to acquire of BBBY’s assets and that it would not go alone to acquire the assets of BBBY.

          137.   Instead, DOM used the information provided by Go Global, including information

found it Go Global’s secure data room and in Go Global’s Bid, that was provided in furtherance

of the parties’ proposed partnership, to develop and submit its own competing bid for BBBY’s

assets.

          138.   DOM has been unjustly enriched at Go Global’s expense because DOM acquired

BBBY’s assets using the proprietary information and know-how compiled and analyzed by Go

Global.

          139.   DOM continues to unjustly enrich itself by using Go Global’s proprietary

forecasts, financial models, and strategic operating plans to maximize the value of the purchased

BBBY assets and operate the resulting business.

          140.   DOM has not compensated Go Global and has been unjustly enriched at Go

Global’s expense.

          141.   Based on the foregoing, Go Global is entitled to damages in an amount to be

determined at trial.

                        AS AND FOR A FOURTH CAUSE OF ACTION
                                (CONSTRUCTIVE TRUST)

          142.   Go Global repeats and realleges the allegations in Paragraphs 1 to 141 as if fully

set forth herein.

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       143.    Go Global and DOM entered a confidential relationship, based on the sharing of

proprietary information to enter a joint bid to purchase BBBY’s assets.

       144.    On June 10, 2023, DOM through its representatives, promised to Go Global that it

would not make a bid for BBBY’s assets alone and that it would partner with Go Global in Go

Global’s Bid to purchase BBBY’s assets and intellectual property.

       145.    In reliance on DOM’s promise, Go Global shared proprietary information with

DOM regarding a turnaround of BBBY including, but not limited to gross sales projections;

proposed distribution structures for investors; sales forecasts; status of discussions with vendors

to ensure continuity during transition periods; target net revenues; Go Global’s view of the

strengths and weaknesses of BBBY’s business channels and verticals; transaction strategy and

financing ratios; and identification of key BBBY personnel and plans for business development,

as well as Go Global’s proprietary systems and models for brand acquisition.

       146.    As a result of the information obtained from Go Global, DOM crafted its own bid

for BBBY’s intellectual property; directly contradicting the promise it made to Go Global that it

would not bid for BBBY’s assets.

       147.    If Go Global knew that DOM was going to bid for BBBY’s assets without Go

Global’s participation, Go Global would not have shared its proprietary information with DOM.

       148.    Thus, DOM has been unjustly enriched at Go Global’s expense.

       149.    DOM continues to unjustly enrich itself by using Go Global’s proprietary

forecasts, financial models, and strategic operating plans to maximize the value of the purchased

BBBY assets and operate the resulting business.

       150.    Based on the foregoing, Go Global is entitled to damages in an amount to be

determined at trial.



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        151.    Based on the foregoing, Go Global is entitled to the imposition of a constructive

trust over the assets of BBBY acquired by DOM and the revenues and profits earned in

connection therewith.

                 AS AND FOR A FIFTH CAUSE OF ACTION
  (VIOLATION OF THE DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1836 ET SEQ.)

        152.    Go Global repeats and realleges the allegations in Paragraphs 1 to 151 as if fully

set forth herein.

        153.    Go Global’s trade secrets include, as further described above, its proprietary

forecasts, financial models, data, and strategic operating plans. All of those trade secrets relate to

products or services used, sold, purchased, or transported, or intended for use, sale purchase or

transport in interstate commerce across the country and throughout the world.

        154.    Go Global’s trade secrets, as described above, constitute trade secrets within the

meaning of 18 U.S.C. § 1839(3).

        155.    Go Global’s trade secrets derive both actual and potential economic value from

not being generally known to Go Global’s competitors, and from not being readily ascertainable

through proper means by Go Global competitors.

        156.    DOM used Go Global’s trade secrets in violation of the NDA DOM signed with

Go Global, and without Go Global’s express or implied consent.

        157.    DOM knew or had reason to know that use of Go Global’s trade secrets in

violation of the NDA constituted the improper use of Go Global’s trade secrets because of the

circumstances outlined in the NDA giving rise to a duty to maintain secrecy or limit use.

        158.    At all relevant times, Go Global has taken reasonable measures to protect the

secrecy of its trade secrets that DOM misappropriated, including those referred to above.




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       159.      DOM’s actions, as set forth above, constitute “misappropriation” within the

meaning of 18 U.S.C. § 1839(5) because DOM acquired Go Global’s trade secrets through

breach of the NDA or other improper means.

       160.      DOM acquired Go Global’s trade secrets through “improper means” within the

meaning of 18 U.S.C. § 1839(6), and DOM had reason to know, and did know, that they acquired

the trade secrets through improper means.

       161.      DOM used Go Global’s trade secrets without Go Global’s express or implied

consent, and DOM knew that they did not have Go Global’s consent.

       162.      DOM knew that they had contractual obligations prohibiting them from disclosing

or using Go Global’s trade secrets.

       163.      DOM acquired and used Go Global’s trade secrets with the intention and effect of

causing Go Global both economic, intangible, and irreparable harm.

       164.      DOM’s misappropriation has proximately caused damages to Go Global,

including but not limited to lost profits, goodwill, competitive advantage, and business

opportunities.

       165.      DOM was unjustly enriched as a further proximate cause of their

misappropriation of Go Global’s trade secrets by receiving the benefit of Go Global’s proprietary

information through their misappropriation of trade secret information, at no cost, which Go

Global would charge DOM for use and access to that proprietary information.

       166.      DOM continues to unjustly enrich itself by using Go Global’s proprietary

forecasts, financial models, and strategic operating plans to maximize the value of the purchased

BBBY assets and operate the resulting business.




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        167.     As a direct and proximate cause of DOM’s misappropriation, Go Global was

damaged and irreparably harmed, and Go Global continues to be damaged and irreparably

harmed.

        168.     DOM’s conduct in misappropriating Go Global’s trade secrets was intentional,

willful, wanton, reckless and malicious and warrants exemplary damages against DOM pursuant

to 18 U.S.C. § 1836(b)(3)(C), and attorneys’ fees pursuant to 18 U.S.C. § 1836(b)(3)(D).

                          AS AND FOR A SIXTH CAUSE OF ACTION
                              (Common Law Misappropriation)

        169.     Go Global repeats and realleges the allegations in Paragraphs 1 to 168 as if fully

set forth herein.

        170.     Go Global’s trade secrets as described above constitute trade secrets within the

meaning of common law.

        171.     Go Global’s trade secrets that DOM misappropriated derive economic value, both

actual and potential, form not being generally known to and not being readily ascertainable

through proper means by Go Global’s competitors, or to other persons or entities who might

obtain economic value from their disclosure or use.

        172.     At all relevant times, Go Global has taken the above-described reasonable

measures to protect the secrecy of its trade secrets that DOM misappropriated.

        173.     DOM’s actions, as set forth above, constitute “misappropriation” within the

meaning of the common law.

        174.     DOM’s misappropriation has proximately caused damages to Go Global,

including but not limited to loss of profits, goodwill, competitive advantage, and business

opportunities.




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       175.    DOM has been unjustly enriched as a further proximate cause of DOM’s

misappropriation of Go Global’s trade secrets.

       176.    Go Global’s trade secrets are in continuous use in the operation of DOM’s

business.

       177.    DOM misappropriated Go Global’s trade secrets in breach of the NDA and

through improper means.

       178.    DOM’s conduct in misappropriating Go Global’s trade secrets was willful,

fraudulent, malicious, and was done with the intent to injure and oppress Go Global and improve

DOM’s own economic opportunities, thereby justifying an award of punitive damages against

Defendant.

       179.    Go Global is also entitled to temporary, preliminary, and permanent injunctive

relief to protect its confidential and trade secret information by returning Go Global’s

confidential and trade secret files, as well as destroying all copies of Go Global’s trade secret

information that DOM may have created.

WHEREFORE, Plaintiff, Go Global respectfully requests the Court judgment as follows:

(a)    as to the First Cause of Action, damages against Defendants in an amount to be
determined;

(b)    as to the Second Cause of Action, damages against Defendants in an amount to be
determined;

(c)    as to the Third Cause of Action, damages against Defendants in an amount to be
determined;

(d)    as to the Fourth Cause of Action,

       (i) damages against Defendants in an amount to be determined, together with,

       (ii) the establishment of a constructive trust governing the proceeds, profits and other
       property and intellectual property wrongfully obtained by Defendant in violation of the
       Non-Disclosure Agreement;


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(f)    as to the Fifth Cause of Action,

       (i) pursuant to 18 U.S.C. § 1836(b)(3)(A), an injunction against Defendants to prevent
       any actual or threatened misappropriation, including an order directing Defendants to
       return to Go Global (or destroy), to not disclose, and to refrain from further
       misappropriating, any of Go Global’s proprietary, confidential or trade secret
       information, and an order prohibiting Defendants from further using, disclosing or
       misappropriating Go Global’s proprietary, confidential or trade secret information;

       (ii) pursuant to 18 U.S.C. § 1836(b)(3)(B), an award of damages against Defendants in an
       amount to be determined, including but not limited to: Go Global’s damages for actual
       loss caused by Defendants’ misappropriation, Go Global’s damages for unjust enrichment
       (not addressed in computing damages for actual loss) caused by Defendants’
       misappropriation, or in lieu of damages measure by other methods, a reasonable royalty
       for Defendants’ disclosure or use;

       (iii) pursuant to 18 U.S.C. § 1836(b)(3)(C), exemplary damages multiplying or otherwise
       enhancing any award because of Defendants’ willful, malicious, or deliberate wrongdoing
       described herein; and,

       (iv) pursuant to 18 U.S.C. § 1836(b)(3)(D), an award of Plaintiff’s reasonable attorneys’
       fees because of Defendants’ willful, malicious, or deliberate wrongdoing described
       herein.

(g)     as to the Sixth Cause of Action, damages against Defendants in an amount to be
determined, together with an order directing Defendants to return to Go Global (or destroy), to
not disclose, and to refrain from further disclosing or misappropriating any of Go Global’s
proprietary, confidential or trade secret information, and an order prohibiting Defendants from
further disclosing or misappropriating Go Global’s proprietary, confidential or trade secret
information; and

(h)    such other and further relief under law or equity as the Court may deem just and proper,
including pre-judgment interests and an award of attorney fees and costs.

                                DEMAND FOR JURY TRIAL

       Plaintiff Go Global hereby demands a trial by jury on all issues so triable of right.




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Dated: December 22, 2023         Respectfully submitted,

                                 FALCON RAPPAPORT & BERKMAN LLP
                                 By: /s/ Moish E. Peltz, Esq.
                                 Moish E. Peltz, Esq.
                                 Steven C. Berlowitz, Esq.
                                 265 Sunrise Highway, Suite 50
                                 Rockville Centre, NY 11570
                                 Telephone: (516) 599-0888
                                 mpeltz@frblaw.com; sberlowitz@frblaw.com

                                 Attorneys for Plaintiff Go Global Retail LLC




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